Case 2:03-cr-20358-.]PI\/| Document 283 Filed 06/27/05 Page 1 of 2 Page|D 349

F!I.';.J d.` ' . .t.';.
IN THE UNITED sTATEs DISTRICT CoURT f %“ J
FOR THE WESTERN DISTRICT oF TENNESSE§; JUN 2 3 PH v q

 

 

 

DIVISION
RC;'.`*+,-'?l` l'"<f. L`.=§ l-"`i__!'f)
UNITED STATES OF AMERICA’ VY.D‘ OF H‘\., iva;.'.i‘.uf’r'§lb
Plaintiff,
vs. Case No. 03-20358 Ml
STEPHEN LINDILY
Defendant.

 

ORDER REFUNDING CASH APPEARANCE BOND

 

This matter comes before the Court on a motion for refund of the cash appearance bond.
It now appears that the defendant has complied with the requirements of said bond and orders of
this Court.

IT IS THEREFORE ORDERED that the appearance bond for this defendant be canceled
and discharged; and, the Clerk is directed to issue a check on the Registry in the sum of $_LOOL\

payable to Stephen lindley at 1231 Lexiecobb Rd. . Newi§_m. TN 38059

(Name) (Address)
M“CWL

in full refund of the cash appearance bond posted herein.
Ju e McCalla

Approved.

  

 

put rk

  

Thls document entered on the docket sheetl c
with Rula 55 and!or 32(b) FHCrP on

   

UNITED `sEsTAT DISTRIC COURT - W'"RNTE D's'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 283 in
case 2:03-CR-20358 Was distributed by faX, mail, or direct printing on
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Honorable J on McCalla
US DISTRICT COURT

